           Case 2:22-cr-00022-GMN-NJK Document 10 Filed 02/24/22 Page 1 of 2




1    CHRISTOPHER CHIOU
     Acting United States Attorney
2    Nevada Bar No. 14853
     Daniel R. Schiess
3    Assistant United States Attorney
     Nevada Bar No. 5483
4    501 Las Vegas Blvd. South, Suite 1100
     Las Vegas, Nevada 89101
5    Tel: (702) 388-6336
     Fax: (702) 388-6418
6    dan.schiess@usdoj.gov

7    Representing the United States of America

8
                          UNITED STATES DISTRICT COURT
9                              DISTRICT OF NEVADA

10
     United States of America,
11                                                 2:22-cr-22-GMN-NJK
                     Plaintiff,
12                                                 Stipulation and Order to Unseal Criminal
                     v.                            Information and Plea Agreement
13
     Scott F. Carpenter,
14
                     Defendant.
15

16

17   CERTIFICATION: This Motion is timely filed.

18          The United States, by and through the undersigned attorneys, and defendant

19   Scott F. Carpenter, by and through is attorney, Paul J. Fishman, Esq., moves to

20   unseal the criminal information and the plea agreement in this case. No reason exists

21   for these documents to remain under seal. The case was unsealed when the defendant

22   entered his plea guilty, and the request to unseal the criminal information and the

23   plea agreement was inadvertently not made at that time.

24
           Case 2:22-cr-00022-GMN-NJK Document 10 Filed 02/24/22 Page 2 of 2




1

2    DATED this 24th day of February 2022.

3
       CHRISTOPHER CHIOU
4      Acting United States Attorney

5      /s/ Daniel R. Schiess                         /s/ Paul J. Fishman
       DANIEL R. SCHIESS                             Paul J. Fishman, Counsel for
6      Assistant United States Attorney              Defendant Scott F. Carpenter

7

8                                          ORDER

9           Based on the stipulation of the parties, and for good cause, it is hereby ORDERED
10   that the criminal information and the plea agreement in this case are unsealed.
11   DATED this ________ of February, 2022.
12

13                                        _________________________________
                                          Honorable Gloria M. Navarro
14                                        United States District Judge
15

16

17

18

19

20

21

22

23

24
                                               2
